Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.300 Filed 07/30/24 Page 1 of 8




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA AND
    THE STATE OF MICHIGAN
    EX REL. ERIK OLSEN, M.D.,
    SAJITH MATTHEWS, M.D.,
    AND WILLIAM BERK, M.D.,
                                                   Case No. 23-cv-10903
             Plaintiff Relators,
                                                U.S. DISTRICT COURT JUDGE
                     v.                            GERSHWIN A. DRAIN
      TENET HEALTHCARE
   CORPORATION; AND DETROIT
       MEDICAL CENTER,

                Defendants.
        _____________              /

    OPINION AND ORDER GRANTING DEFENDANTS’ MOTION TO
                    DISMISS [ECF No. 25]

   I.     Introduction

        Plaintiff Relators Erik Olsen, M.D., Sajith Matthews, M.D., and William

Berk, M.D. (the “Relators”) bring the instant action. The Amended Complaint

purports to allege claims under the qui tam provisions of the Federal False Claims

Act, 31 U.S.C. § 3729 (the “FCA”), and the Michigan Medicaid False Claims Act,

M.C.L. § 400.610a(1) (the “MMFCA”). It names Tenet Healthcare Corporation

(“Tenet”) and Detroit Medical Center (“DMC”) as Defendants. The original

complaint was filed on April 19, 2023. The instant action is a companion to another

                                        1
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.301 Filed 07/30/24 Page 2 of 8




case that is currently pending before this Court: Olsen et al v. Tenet Healthcare

Corporation et al (Case No. 22-cv-11590). The parties and underlying facts of both

cases are identical. The United States and the State of Michigan both declined

intervention and the complaints were unsealed in October 2023.

         Before the Court is Defendants’ Motion to Dismiss, filed on March 22, 2024.

Plaintiff Relators responded on April 12, 2024, and Defendants replied on April 26,

2024. The motion is fully briefed. Upon review of the briefing and applicable

authority, the Court concludes that oral argument will not aid in the resolution of this

matter. Accordingly, the Court will resolve Defendants’ motion on the briefs. See

E.D. Mich. L.R. 7.1(f)(2).

         For the reasons set forth below, Defendants’ Motion is GRANTED. Plaintiff

Relators’ Amended Complaint is DISMISSED.

   II.      Factual and Procedural Background

         On July 13, 2022, Relator Erik Olsen filed a qui tam complaint under seal in

this Court against Tenet. It alleges violations of the FCA and MMFCA. (2:22-CV-

11590, ECF No.1, PageID.1-39). Olsen asserted that Tenet was fraudulently billing

for services rendered while patients were boarded in the emergency room (“ER”).

Id. After the United States and the State of Michigan declined intervention, the Court

issued an Order on October 30, 2023, unsealing the Olsen Complaint. (2:22-CV-

11590, ECF No. 16, PageID.86-88). Relator Olsen subsequently filed an amended

                                           2
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.302 Filed 07/30/24 Page 3 of 8




complaint on January 18, 2024, adding Relators Sajith Matthews and William Berk

as plaintiffs, and DMC as a defendant. (2:22-CV-11590, ECF No. 19, Page ID.93-

137). The allegations in the Olsen amended complaint are identical to the allegations

in the Amended Complaint in the instant action, and the Olsen case remains open

with the Realtor’s Motion to Consolidate and Defendants’ Motion to Dismiss

pending. Id.

      On July 13, 2022, more than nine months after Relator Olsen’s complaint was

filed, Relators Matthews and Berk filed the instant complaint under seal against

Tenet and DMC alleging violations of the FCA and MMFCA. (ECF No. 1,

PageID.1-31). Like Olsen’s complaint, Relators Matthews’ and Berk’s complaint

alleged that Defendants were fraudulently billing for services rendered as inpatient

while patients were boarded in the ER. Id. Also, similar to the first-filed Olsen

matter, the United States and the State of Michigan declined intervention, and the

Court unsealed the complaint on October 30, 2023. (ECF No. 11, PageID.60-62).

Relators Matthews and Berk then filed an Amended Complaint on January 18, 2024,

adding the same Olsen Realtor as an additional Relator in the instant action – which,

as noted, is identical to the amended complaint Olsen filed in his separate action.

(ECF No. 15, PageID.71-115).

      In their Amended Complaint, Relators maintain that they are “highly

respected emergency room and internal medicine physicians with decades of

                                         3
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.303 Filed 07/30/24 Page 4 of 8




experience,” who allege that they have practiced at Detroit Receiving Hospital. ECF

No. 15, PageID.73. The Amended Complaint in this case asserts violations of the

FCA and MMFCA based on allegations regarding Defendants’ alleged conduct

during the COVID-19 pandemic. Specifically, the Relators submit that “Defendant

Tenet Healthcare Corporation . . . and a hospital system it controls, Defendant

Detroit Medical Center, . . . fraudulently bill for inpatient care when patients are held

in emergency room facilities . . ., a practice known as ‘boarding.’” Id., PageID.72.

      “Moreover,” Relators say, “Defendants refuse to spend resources to provide

care for the crowded ERs created by the boarded patients.” Id., at PageID.73.

Allegedly, “boarded patients in Defendants’ ERs not only do not receive the billed-

for inpatient care, frequently they do not even receive the observation level of care

required in an ER setting.” Id. “As a result,” the Relators aver, “despite Tenet

receiving significant tax payor resources to treat them, patients are dying.” Id.

Further, Relators allege that “[w]hile some boarding in ERs is normal and even

perfectly acceptable if staff is available to provide the necessary care, Tenet is well

aware that such staff is often nonexistent but is boarding for excessive ratios and

billing for ICU care without this staff being available, day after day, for profit.” Id.,

at PageID.73.

      The crux of Relators’ allegations center on the purported “deliberate choice

made by Tenet and DMC,” to “routinely bill Medicare, Medicaid and other

                                           4
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.304 Filed 07/30/24 Page 5 of 8




government healthcare programs for inpatient care that was not delivered or capable

of being delivered at the DMC’s acute care hospitals’ emergency departments.” Id.,

at PageID.90. In their Amended Complaint, the Relators maintain the Defendants

“bill government healthcare programs for ER boarded patients as if they were in the

appropriate inpatient department as soon as an admission order is signed”, even in

circumstances where “the patient is still physically present in the ER and is not

receiving an inpatient level of care.” Id., at PageID.90. According to the Relators,

Defendants engage in this conduct because inpatient care is “reimbursed at a higher

rate than ER/outpatient level of care.” Id.

      Defendants urge the Court to dismiss the Realtor’s Amended Complaint under

the FCA’s First-to-File Rule. Additionally, Defendants maintain that the complaint

fails to plead the FCA or MMFCA because “Tenet and DMC are not proper parties”

and it fails to plead a false claim as required by Fed. R. Civ. P. 9(b) and 12(b)(6).

ECF No. 25, PageID.156. The Court will discuss the applicable law and analysis

below.

   III.   The First to File Rule Bars the Instant Action.

      Defendants assert that the instant action is barred by the “first-to-file” rule.

Under that rule, the FCA provides that “[w]hen a person brings an action under this

subsection, no person other than the Government may intervene or bring a related

action based on the facts underlying the pending action.” 31 U.S.C. § 3730(b)(5).

                                          5
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.305 Filed 07/30/24 Page 6 of 8




This section “‘unambiguously establishes a first-to-file bar, preventing successive

plaintiffs from bringing related actions based on the same underlying facts.’” See

Walburn v. Lockheed Martin Corp., 431 F.3d 966, 971 (6th Cir. 2005). The “first-

to-file bar furthers the policy of the False Claims Act in that ‘[t]he first-filed claim

provides the government notice of the essential facts of an alleged fraud, while the

first-to-file bar stops repetitive claims.’” Id., at 971. To determine whether a later

filed action is barred, the Court will compare the two Amended Complaints in Olsen

and the instant action. If both complaints “allege ‘all the essential facts’ of the

underlying fraud, the earlier filed. . .action bars [the later] action, even if [the later]

complaint ‘incorporates somewhat different details.”’ Id., (quoting United States ex

rel. LaCorte v. SmithKline Beecham Clinical Labs., Inc., 149 F.3d 227, 232-233(3d

Cir.1998).

       The Amended Complaint in the instant action and amended complaint in the

Olsen action are identical, which establishes that the instant action is repetitive and

therefore barred by the first-to-file rule. See United States v. Allstate Ins. Co., 620 F.

Supp. 3d 674, 683 (E.D. Mich. 2022) (“the bar against nonparties ‘bring[ing] a

related action based on the facts underlying the pending action’ applies to successive

Relators in separate actions, rather than co-Relators in the same action.” (citing §

3730(b)(5) and Walburn v. Lockheed Martin Corp., 431 F.3d 966, 971 (6th Cir.

2005)). Accordingly, the Court will dismiss the Relators’ FCA claim.

                                            6
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.306 Filed 07/30/24 Page 7 of 8




      Because the only federal claim in this action is being dismissed, the Court will

also decline to exercise supplemental jurisdiction over the MMFCA claim.

Generally, “[w]hen all federal claims are dismissed before trial, the balance of

considerations usually will point to dismissing the state law claims, or remanding

them to state court if the action was removed.” Musson Theatrical v. Fed. Express

Corp., 89 F.3d 1244, 1254–55 (6th Cir.1996); see also United Mine Workers of Am.

v. Gibbs, 383 U.S. 715, 726, 86 S.Ct. 1130, 16 L.Ed.2d 218 (1966) (“Certainly, if

the federal claims are dismissed before trial ... the state claims should be dismissed

as well.”); Perry v. Se. Boll Weevil Eradication Found., 154 Fed.Appx. 467, 478

(6th Cir.2005) (noting that dismissal is the “clear rule of this circuit”) (internal

citations omitted). The Court will dismiss the MMFCA claim without prejudice and

address the merits and substance of Defendants’ Motion to Dismiss as filed in Olsen.

   IV.   Conclusion

      The Relators’ FCA claim is DISMISSED. Relators’ MMFCA is dismissed

   without prejudice.

      SO ORDERED.

Dated: July 30, 2024                                /s/Gershwin A. Drain
                                                    GERSHWIN A. DRAIN
                                                    United States District Judge




                           CERTIFICATE OF SERVICE
                                          7
Case 2:23-cv-10903-GAD-KGA ECF No. 29, PageID.307 Filed 07/30/24 Page 8 of 8




          Copies of this Order were served upon attorneys of record on
               July 30, 2024, by electronic and/or ordinary mail.
                              /s/ Marlena Williams
                                  Deputy Clerk




                                       8
